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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                          SOUTHERN DIVISION


Heather Wyatt                                                            PLAINTIFF(S)

VERSUS                                     CIVIL ACTION NO. 1:25cv98-TBM-RPM

Ocean Springs School District, et al.                                 DEFENDANT(S)



                           RULE 16(a) INITIAL ORDER


      The above captioned cause is set for a TELEPHONIC CASE
MANAGEMENT CONFERENCE (TCMC) on Thursday, June 5, 2025, at 9:00
a.m. before:

                            U.S. Magistrate Judge Robert P. Myers, Jr.
                            2012 15th Street, Suite 870
                            Gulfport, MS 39501
                            Telephone Number to use for Conference: (228) 563-1720
                            Myers_Chambers@mssd.uscourts.gov

Unless otherwise agreed, it shall be the responsibility of counsel for the
plaintiff to set up the conference call at the scheduled time. In cases
involving pro se plaintiff, it shall be the responsibility of counsel for the defendant to
set up the conference call at the scheduled time. PLEASE PLACE THE CALL TO
JUDGE MYERS’ CHAMBERS WITH ALL NECESSARY COUNSEL ALREADY ON
THE LINE.

      No later than twenty-one (21) days prior to the TCMC, counsel shall confer
regarding all matters set forth in Local Rule 26(f).

       No later than fourteen (14) days after the attorney conference, seven (7) days
prior to the TCMC, counsel shall submit a proposed case management order
(pdf format) to the judge only. This submission shall not be filed with the Clerk
of Court. By the same deadline, counsel shall also submit a Confidential
Memorandum (pdf format) (3 page maximum) setting forth a brief
explanation of the case, and a candid appraisal of the respective positions,
including possible settlement figures to
Myers_Chambers@mssd.uscourts.gov (PRO SE persons must MAIL their memo



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instead of using the e-mail address). Counsel will also furnish in their
memorandum a good faith estimate of the expense of carrying the litigation through
trial and the appellate process, if not settled, and will have discussed these costs
with their respective clients. These memoranda are not to be exchanged and will
be viewed only by the Court. Further, these memoranda shall not be filed with the
Clerk of Court. Do not mail a separate copy.

     THE FAILURE OF ANY PARTY TO TIMELY SUBMIT THE
PROPOSED CASE MANAGEMENT ORDER AND CONFIDENTIAL
MEMORANDA SHALL REQUIRE ATTENDANCE IN PERSON BY ALL
DEFAULTING COUNSEL AT THE CASE MANAGEMENT CONFERENCE.
ALL ATTORNEYS OF RECORD FOR THE DEFAULTING PARTY SHALL
BE REQUIRED TO ATTEND AND THE CONFERENCE SHALL NOT BE
SUBJECT TO RESCHEDULING. SANCTIONS WILL BE IMPOSED AT THE
CONFERENCE.

      At the case management conference, the Court and the parties shall:

       1.     Identify the principal factual and legal issues in dispute;
       2.     Identify the alternative dispute resolution procedure which counsel
intend to use, or report specifically why no such procedure would assist in the
resolution of the case;
       3.     Indicate whether all parties consent to jurisdiction by a magistrate
judge;
       4.     Review the parties’ compliance with their disclosure obligations and
consider whether to order additional disclosures;
       5.     Determine whether to order early filing of any motions that might
significantly affect the scope of discovery or other aspects of the litigation, and
provide for the staged resolution, or bifurcation of issues for trial consistent with
42(b) Fed.R.Civ.P.;
       6.     Determine the plan for at least the first stage of discovery; impose
limitations on each discovery tool, time periods and other appropriate matters;
       7.     Discuss the timing for the Rule 16(g) settlement conference;
       8.     Discuss scheduling and set appropriate scheduling deadlines including
dates for settlement conference, completion of discovery, motions, final pretrial
conference and trial. The parties should be prepared to discuss prior conflicts with
the trial date.
       9.     Verify that counsel are registered for electronic document filing and
are familiar with the Administrative Procedures for Electronic Filing.

       A case management order shall be entered by the Court within ten (10) days
of the conference. The parties shall not complete the scheduling deadlines section
until the TCMC. A Uniform Case Management Order form and case management
timelines have been developed and are available on the Court's website at



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www.mssd.uscourts.gov and as Form No. 1 in the revised Uniform Local Rules,
effective December 2021. Counsel shall use that format in discussions and
preparation. The Uniform Local Rules are also available on the Court's website.




Date: May 5, 2025                       s/   eÉuxÜà cA `çxÜá? ]ÜA
                                        ROBERT P. MYERS, JR.
                                        UNITED STATES MAGISTRATE JUDGE




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